of

RETAIL INSTALLMENT SALE CONTRACT

SIMPLE FINANCE CHARGE
Buyer Name and Address Name and Address Seller-Creditor (Name and Address)
(including Gounty and Zip Gode) (Including County and Zip Code) AIKEM MOTORS ING

BECCA L HORVATH 710 Lincoin Way East

Massillon, OH 44646

You, the Buyer (and Co-Buyer, if any), may buy the vehicle below for cash or on credit. By signing this contract, you choose to buy the vehicle on
credit under the agreements In this contract. You agree to pay the Seller - Creditor (sometimes “we” or “us” In this contract) the Amount Financed
and Finance Charge in U.S. funds according to the payment schedule below. We will figure your finance charge on a daily basis at the Base Rate

of 18:59 a per year. The Truth-in-Lending Disclosures below are part of this contract.
New/Used/

Demo Year Make and Model Vehicle Identification Number Miteage Primary Use For Which Purchased
Cleetimate | Penne indeed bao
actual | C) business

USED | 2015 | CHEVROLET SILVERADO 1500 1GCVKREC8F2229523 75,705 | Clagricutwral OJ WA

_ FEDERAL TRUTH-IN-LENDING DISCLOSURES Returned Check Charge: You agree to pay a
ANNUAL FINANCE Amount Total of Total Sale
PERCENTAGE | CHARGE Financed Payments Price SINCE THC CIE SD ery CR ON Gave
RATE The dollar The amount of The amount you | The total cost of us is dishonored.
The cost of amount the credit provided | will have paid after your | Pee on
your credit as credit will to you.or you hava made all} credit, including id i
S ieay rae: soe i. ae occar bail seerrerec ea seir kaart Amount of Lien Notation Fea Paid in Cash
scheduled. payme er of $ NIA
16.59 20,735.83 $ 35,428.49 $ 56,164.32 $ 56,164.32 RIGHT TO CANCEL
Your Payment Schedule Will Be: (e) means an estimate} | If Buyer and Co-buyer sign here, the
an, Pena oo provisions of the Right to Cancel
section on page 4, which gives you
72___|$_780.06 MONTHLY beginning _ 07/16/2022 and Seiler the right to cancel if Seller
NIA $ NA NA Is unable to assign this contract within
__N/A___ days, will apply. Please see
N/A page 4 of this contract for Important
terms of this right to cancel.
Late Charge. If payment Is not received in tull within 10 days atter it Is due, you will pay a late charge
ofS 20 or __5__% of each Installment, whichever is__greater
Prepayment. If you pay early, you will not have to pay a penaity. Buyer Signs X WA
Security Interest. You are giving a eecurity interes! ‘n the vehicle being purchased,
Additional Information: See this contract for more information inciuding information about nonpayment, Co-Buyer Signs x NIA
defaull, any required repayment |n full before the scheduled date and security interest.

OPTIONAL GAP CONTRACT. A gap contract (debt cancellation contract) Is not required to obtaln credit and will not be provided unless you sign below and agree to pay the extra charge. It you choose to
buy a gap contract, the charge is shown In lam 2€ of the Hemization of Amount Financed. See your gap contract for details on the terms and conditions it provides. It Is a part of this contract.

Term a__!2 Mos. _*) WESTERN DIVERSIFIED GAP
es Name of Gap Contract
waren eB ACO Odnuath “Hz eae

_—

NOTICE: ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES WHICH
THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT HERETO OR
WITH THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY
THE DEBTOR HEREUNDER,

The preceding NOTICE applies only to goods or services obtained primarily for personal, family, or household use. In all other
ones, Buyer vill not senor ageinet a cobeeqien hoider or assignee of this contract any claims or defenses the Buyer {debtor) |
may have against the Seller, or against the manufacturer of the ve icle or equipment obtained under this contract.

snworeeloee cab lruath er ZOE

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ITEMIZATION OF AMOUNT FINANCED : insurance, You may buy the physlal damage iaurance
. : . ; . j this contract requires fram anyone you choose s
1 Cash price of vehicle, accessories, and taxes $ 33,180.25 11)| | acceptable to un You may sso provde tho physical
2 Other charges including amounts paid to others on your behalf (Seller naa keap damage insurance through an existing policy owned or
part of these amounts.): controlled by you that is acceptable to us. You are nol
7 . NA required to buy any other insurance to obtain credit.
A Government taxes nol included in line 1 above $ lf any insurance is checked below, policies or
6 Government registration fees certificates. from the named insurance companies will
REGISTRATION FEES $ 41.00 describe the terms and conditions.
C Government certticate of tie fees including ten notation tee ots __WA_ 15.00 Check the Insurance you want aad eign below:
D Net trade-in payott to ALLY $ 922.24 Optional Credit Insurance
E Optional Gap Contract $ 1,000.00 O credit Lite: (Buyer () Co-Buyer C1] Both
F Documentary Fee $ 250.00 C0 Creda Disabliity: () Buyer (1 Co-Buyer (] Both
G Registration convenience fee $ = Premium:
By signing this contract, you agree to pay this fee for registration services provided Credit Lite $ tA
by Selter-Creditor 2! your request, and you acknowiedge that the service is optional. Credit Disability $ NIA
H Other charges (Seller must identity who is paid and describe purpose.) Insurance Company Name N/A
oe jor N/A $ NIA NIA
toWA for WA $ N/A Home Cttice Address W/A
oA tor WA $ NA NIA
wth nth A | | ae phen Sanaa
’ io or
toWA for A $ N/A peeeeh aul oak disability insurance vn Se ueear in the
oA forN/A $ NIA ao Wee es he eS ee
to pay cost. If you choose this insurance,
toN/A for WA $ N/A costs shown in Ham 6A ofthe liemizalion of Anount Financed.
to WA for WA $ N/A Credit Gile insurance is based on your eriginal payment schedule.
NA NA NA This insurance may not pay all you owe on this contract it you
to for $ make late payments. disability insurance does not cover
1p WA for WA $ N/A any increase in ~ payment or in the number of payments,
NA NA NA Coverages for credit life insurance and credit disability insurance
fo. for $ ends on the original due dete for the last payment unless a
toW/A for WMA $ N/A differant term for the insurance is shown below.
toWA to NIA $ N/A
Total other charges and amounts paid to others on your behalf $ 2,246.24 (2)
3 Total cash price (1 + 2) $ 35,428.49 (3)
4. Besenpayment Other Optional Insurance
“tonite 018: MERCEDES-BENZ C-CLASS NA N/A
aR Bake) (Model) Type of Insurance Term
Gross Trade-in Allowance ¢____19.000.00 Premium § “=
Less Pay Ol Made By Selter to ALLY $ 20,922.24 Insurance Company Name N/A
Equais Net Trade-in $ 71,922.24 WA
+ Cash $ 1,000.00 Home Office Address N/A
+ Other § N/A WA
+ Other N/A $ N/A oO NIA N/A
+ Other N/A $ N/A Typa of insurance Term
Total downpayment = (if negative enter “0” and see fine 2D above) $ 0.00 (4)| | Premium $ N/A
5 Unpaid balance of cash price (2 minus 4) $ 35,428.49 15)! | insurance Company Name NIA
& Insurance NA
A Cost of optional credit insurance pald to the insurance company or companies Home Office Address NIA
Life ¢ N/A N/A
N/A NIA sane i \
Disability $ $ Other optional insurance is not required to. obtain credit.
40 to. x
B Other optional insurence pad to Insurance Company or Companies s = witba'n turn ho rot approved procees Ml not BD
Total Insurance charges $ N/A (6) provided unless you sign and agree to pay the extra cost.
7 Amount financed (principal balance) (6 + 6) $. 38,428.49 (7) | | want the insurance checked above.
8 Registration convenience fee (prepaid finance charge) $ NIA (g) x sua sn
By signing this contract, you agree to psy this fee for registration services provided by zi ~ Sais
Seller-Creditor, and you acknowledge that the service Is required by the secured party. Buyer Signet
9 Finance charge (excluding prepaid finance charge) $ 20,735.83 ig)! | y NIA WA
40 Total of payments (time balance) (7 +8) $ 56,164.32 (1) | Co-Buyer Signature Date
- E N
OPTION: CO) You pay no finance charge If the Amount Financed, item 7, is paid In full on or before ery ce Eine Oe wes
NA Year N/A_ . SELLER'S INTIALS —___NA LIABILITY FOR BODILY INJURY OR

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PROPERTY DAMAGE CAUSED TO
OTHERS. WITHOUT SUCH INSUR-
ANCE YOU MAY NOT OPERATE THIS
VEHICLE ON PUBLIC HIGHWAYS.

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OTHER IMPORTANT AGREEMENTS

1. FINANCE CHARGE AND PAYMENTS

a.

How we will figure Finance Charge. We will treat any
prepaid finance charge as fully earned on the date of this
contract. We will figure the rest of the Finance Charge on a
dally basis at the Base Rate on the unpaid part of the
Principal Amount. Your Principal Amount is the sum of the
Amount Finaneed and the Prepaid Finance Charge, if any.

How we will apply payments. We may apply each
payment to the earned and unpaid part of the Finance
Charge, to the unpaid part of the Amount Financed and to

other amounts you owe under this contract in any order we ~

choose as the law allows,

How late payments or early payments change what you
must pay. We based the Finance Charge, Total of
Payments, and Total Sale Price shown on page 1 of this
contract on the assumption that you will make every
payment on the day it is dua. Your Finance Charge, Total of
Payments, and Total Sale Price will be more if you pay late
and less if you pay early. Changes may take the form of a
larger or smaller final payment or, at our option, more or
fewer payments of the same amount as your scheduled
payment with a smaller final payment. We will send you a
notice telling you about these changes before the final
scheduled payment Is due.

You may prepay. You may prepay all or part of the unpaid
part of the Amount Financed at any time without penalty. If
you do so, you must pay the earned and unpaid part of the
Finance Charge and all other amounts due up to the date of
your payment.

Your right to refinance an irregular payment schedule.
An irregular payment schedule is one with payments not
scheduled te be paid in substantially equal consecutive
payments. If you have an irregular payment schedule and if
you are buying the vehicle primarily for personal, family, or
household use, you may refinance this contract without
penalty. The terms of the refinancing will be no less favor-
able to you than the terms of this contract. This provision
does not apply if we adjusted your payment schedule to
your seasonal or irregular income.

2. YOUR OTHER PROMISES TO US

a.

b,

Buyer Signs Volos aco) HL utNd opt

If the vehicle Is damaged, destroyed, or missing. You
agree to pay us all you owe under this contract even if the
vehicle is damaged, destroyed, or missing.
Using the vehicle. You agree not to remove the vehicle
from the U.S. or Ganada, or to seil, rent, lease, or transfer
any interest in the vehicle or this contract without our written
permission. You agree not to expose the vehicle to misuse,
seizure, confiscation, or involuntary transfer. If we pay any
repair bills, storage bills, taxes, fines, or charges on the
vehicle, you agree to repay the amount when we ask for it.
Security Interest.
You give us a security interest in:
* The vehicle and all parts or goods put on it;
* All money or goods recelvad (proceeds) for the vehicle;
* All insurance, maintenance, service or other contract
we finance for you: ‘and
¢ All proceeds from insurance,.maintenance, service or
other contracts we finance for you. This includes any
refunds of premiums or charges from the contracts.
This secures payment of all you owe on this contract. It also
secures your other agreements in this contract. You will
make sure the title shows our security interest (lien) in the
vehicle. You will not allow any other security interest to be
placed on the title without our written permission.

Insurance you must have on the vehicle,

You agree to have physical damage insurance covering loss
of or damage to the vehicle for the term of this contract. The
insurance must cover our interest in the vehicle. You agree
to name us on your Insurance policy as an additional
insured and as loss payee. If you do not have this insur-
ance, we may exercise our rights under this contract, or if
we choosa, buy physical damage insurance covering our
interest in the vehicle. If the vehicle is lost or damaged, you
agree that we may use any insurance settlement to reduce
what you owe or repair the vehicle.

What happens to returned insurance, maintenance,
service, or other contract charges. If we get a refund of
insurance, maintenance, service. or other contract charges,
you agree that we may subtract the refund from what you
owe,

3. IF YOU PAY LATE OR BREAK YOUR OTHER PROMISES
a. You may owe late charges. You will pay a fate: charge on

each late payment as shown on page 1 of this contract.
Acceptance of a late payment or late charge does nat
excuse your late payment or mean thal you may keep
making late payments. If you pay late, we may also take the
steps described below.
You may have to pay all you owe at once. If you break
your promises (default), we may demand that you pay all
you owe on this contract at once (accelerate). Default
means:
1. You do not pay any payment on time;
2. You give false, incomplete, or misleading information
during credit application;
3. ‘You start a proceeding in bankruptcy or one is started
against you or your property; or
4. You break any agreements in this contract.
If your only default Is that you did not pay a payment on
time, we may accelerate this contract only if your default
continues for at least 30 days. Otherwise, we may
accelerate any time after you default. Our right to accelerate
is subject to any right the law gives you to reinstate this
contract.
The amount you will owe will be the unpald part of the
Amount Financed plus the earned and unpaid part of the
Finance Charge, any late charges, and any amounts due
because you defaulted,
We may take the vehicle from you. If you default, we may
take (repossess) the vehicle from you if we do so peacefully
and the law allows it. If your vehicle has an electronic
tracking device (such as GPS), you agree that we may usa
the device to find the vehicle. If we take the vehicle, any
accessories, equipment, and replacement parts will stay
with the vehicle. If any personal items are in the vehicle, we
may store them for you. If you do not ask for these items
back, we may dispose of them as the law allows.
How you can get the vehicle back If we take it. If we
repossess the vehicle, in many situations, the law gives you
the right to pay to get it back. We will tell you what you have
to do to get the vehicle back.

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e. Wewill sell the vehicle if you do not get it back. If you do 4. WARRANTIES SELLER DISCLAIMS

not do what Is required to get the vehicle back, we will sell _ «Unless the Seller makes a written warranty, or enters into a
the vehicle. service contract within 80 days from the date of this con-
We will apply the money from the sale, less allowed tract, the Seller makes no warranties, express or Impiled, on
expenses, to the amount you owe. Allowed expenses are the vehicle, and there will be no implied warranties of mer-
expenses we pay as.a direct result of taking the vehicie, chantabillty or of fitness for a particular purpose.

holding it, preparing It for sale, and selling it. If any money is This provision does not affect any warranties covering the
left (surplus), we will pay it to you unless the law requires us vehicle that the vehicle manufacturer may provide.

to pay It to someone alse. If money from the sale is not
enough to pay the amount you owe, you must pay the rest 5. Used Car Buyers Guide. The Information you see on the win-

to us. If you do not pay this amount when we ask, we may dow form for this vehicie |s part of this contract. Information
charge you interest at the greater of the Base Rate shown on the window form overrides any contrary provisions In the
on page 1 of this contract, or the highest rate the law contract of sale.
permits. Spanish Translation: Gula para compradores de vehiculos
f. What we may do about optional insurance, maln- usados. La informacién que ve en el formulario de la
tenance, service, or other contracts. This contract may ventanilla para este vehiculo forma parte del presente
contain charges for optional insurance, maintenance, contrato. La Informactén del formulario de la ventanilla deja
service, or other contracts. If we demand that you pay all ain efecto toda disposiclén en contrarlo contenida en el
you owe at once or we repossess the vehicle, you agree contrato de venta.

that we may claim benefits under these contracts and
cancel them to obtain refunds of unearned charges to 6, SERVICING AND COLLECTION CONTACTS

reduce what you owe or repair the vehicle. If the vehicle is a You agree that we may try to contact you in writing, by e-mail, or
total loss because it is confiscated, damaged, or stolen, we using prerecorded/artificial voice messages, text messages, and
may claim benefits under these contracts and cancal them automatic telephone dialing systems, as the law allows. You also
to obtain refunds of unearned charges to reduce what you agree that we may try to contact you in these and other ways at
owe. : any address or telephone number you provide us, even if the
telephone number is a cell phone number or the contact results

in a charge to you.

7. APPLICABLE LAW
Federal law and the law of the state of Ohio apply to this contract.

Right to Cancel (applies if Buyer(s) signs RIGHT TO CANCEL on page 1)

a. Seller agrees to deliver the vehicle to you on the date this contract is signed by Seller and you. You understand that it may
take a few days {or Seller to verify your credit, locate financing for you on the exact terms shown on page 1 of this contract,
and assign this contract to a financial institution. You agree that Seller has the number of days stated on page 1 of this contract
to assign this contract. You agree that if Seller is unable to assign this contract within this time pence to.any one of the financial
institutions with whom Seller regularly does business under an assignment acceptable to Seller, you or Seller may cancel this
contract. The right to cancel this contract ends upon assignment of this contract or the end of the stated time period.

b. If Seller elects to cancel per Paragraph a. above, Seller will give you written notice (or in any other manner in which actual
notice is given to you).

¢, Upon receipt of the notice of cancellation or it you cancel this contract, you must return the vehicle to Seller immediately in
the same condition as when sold other than reasonable wear for the time you had it. Except as described below, Seller must
give you back ail consideration Seller has received from you in connection with this contract. If Seller has already sold the
tade-in, the Seller will pay you the proceeds of the sale less any reasonable expenses incurred in connection with preparing

or reconditioning the Trade-in for sale and any prior credit balance paid by Seller to a prior lienholder on your behalf.

d. If you do not return the vehicle immediately after receipt of the notice of cancellation or upon your cancellation, you a that
Saller may use any lawful means to take it back (including repossession if done peacefully) and you will be liable for all
expenses incurred by Seller in taking the vehicle from you.

e. While the vehicle is in your possession, all terms of this contract, including those relating to use of the vehicle and insurance
for the vehicle, are in full force and you assume all risk of loss or damage to the vehicle. You must pay all reasonable costs
for repair of damage done to the vehicle while the vehicle is in your possession. Seller may deduct from any consideration
due to you under paragraph c. above Seller's reasonable costs to repair the vehicle. If you or Seller cancels this contract, the
terms of this Seller's Right to-Cancel provision (including those on the front of this contract) remain in effect even after you no
longer have possession of the vehicle.

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; NO COOLING OFF PERIOD
‘State law does not provide for a “cooling off” or cancellation period for this sale. After you sign this contract,
you may only cancel it if the seller agrees, if this contract is subject to the limited right to cancel described
on page 1, or for legal cause. You cannot cancel this contract simply because you change your mind. This
notice does not apply if this sale Is a door-to-door sale under federal law.

The Annual Percentage Rate may be negotiable with the Seller. The Seller may assign this contract
and retain its right to recelve a part of the Finance Charge.

TOW THS CONTRACT CAN BE CHANGED. This contract contains the entieg a hement betyee g fplaling to this contract. Any i lust be
in writing and we must sign it. No oral changes are binding, Buyer Signs X-KeWeceyac> Buyer Signs X

If any. part of this contract Is nol valid, all other parts stay valid. We may delay or retain from enforcing any of our righis under this cont without losing them. For example,
we may extend the time for making some payments without extending the time for making others.

See the rest of this contract for other Important agreements.

NOTICE TO RETAIL BUYER: Do not sign this contract In blank. You are entitled to a copy of the contract at the time
‘you sign. Keep It to protect your legal rights.

You agree to the terms of this contract. You confirm that before you signed this contract, we gave it to you, and you were
free to take it and review It. You confirm that you recelved a completely filled-in co nyo it.

Buyer Signs X te 06/16/2022 Co.Buyer Signs Ee ———pate 06/16/2022
Buyer Printed Name REBECCA L HORVATH Co-Buyer Printad Name NICHOLAS R GESSLER
if the "business" use-box is checked in "Primary Use for Which Purchased’: Print Name N/A Tite N/A

Co-Buyers and Other Owners — A co-buyer is 2 person who is responsible for paying the entire debt. An other owner is a person whose name is on the tille to the vehicle bul does nol
have to pay the debt, The other owner agrees to the security interest in the vehicle given to us in this contract.

Other.owner signs he re X N/A Add » a NVA -
Soler signs WAIKEM MOTORS INC Date _ 06/16/2022 py Trio F&I MNGR
6 SUS
Soller assigns its interest in oe contragtp SANTANDER CONSUMER USA “—/ _ (Assignee) under the terms of Seller’s agreements) with Assignee.
a XS Assigned with recourse
Soller WAIKEM woToRa INC Seller N/A
By X FINANCE MANAGER By x Tie N/A

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